
983 A.2d 303 (2009)
118 Conn.App. 904
Barry YOUNG
v.
ADMINISTRATOR, UNEMPLOYMENT COMPENSATION ACT, et al.
No. 30940.
Appellate Court of Connecticut.
Argued November 19, 2009.
Decided December 15, 2009.
HARPER, ROBINSON and LAVERY, Js.
PER CURIAM.
Practice Book § 22-4 provides a mechanism for the correction of a board's factual findings. The plaintiff's failure to file a timely motion to correct prevented the trial court from reviewing facts found by the board, and it is bound by them. See JSF Promotions, Inc. v. Administrator, Unemployment Compensation Act, 265 Conn. 413, 422, 828 A.2d 609 (2003).
The judgment is affirmed.
